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IN THE UNITED STATES DlsTRlCT COURT ' '

FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUN 23 AH 8~ t,
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THOMAS & BETTS CORP.,
Plaintiff,
V.

NO. 02-2953 Ma/An

HOSEA PROJECT MOVERS, LLC,

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Defendant.

 

REPORT AND RECOMMENDATION

 

Before the Court is Plaintiff’ s Motion for Default Judgment, for Dismissal of Hosea
Proj ect Movers, LLC’s Counterclaim, and for an Award of Attorney’s Fees filed on February 4,
2005. United States District Judge Samuel H. Mays, Jr. referred this matter to the Magistrate
.ludge to conduct a hearing and for a report and recommendation The Court held a hearing on
this matter on May 4, 2005. For the reasons set forth below, the Court recommends that the
Motion for Default Judgment be DENIED, the Motion for Dismissal be DENIED, and the
Motion for Attorney’s Fees be GRANTED.

BACKGROUND

Plaintiff filed this Motion pursuant to Fed. R. Civ. P. 37(b), 37(d), and 41 requesting that
the Court enter default judgment on the issue of liability against Defendant, dismiss Defendant’s
counterclaim and award Plaintiff attorney’s fees. Plaintiff alleges that Defendant has committed

various acts of discovery misconduct in this case by repeatedly canceling depositions set by

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Plaintiff. Plaintiff` also alleges that sanctions are appropriate because Defendant has refused to
comply with an Order of the Court.

Almost a year ago, the parties agreed to hold the depositions of three of Defendant’s
corporate officers on J unc ll, 2004. ”l`hese officers Were Mr. David Hosea, Defendant’s
President, l\/Ir. Williams Holmes, Defendant’s Executive Vice President, and Mr. Ernie Liggett,
Sr., Defendant’S Senior Projl ect Manager Who Was responsible for Plaintist project at issue in
this case. On June 8, 2004, however, Defendant’s counsel informed Plaintiff"s counsel that the
three officers Would be unable to give their depositions on June ll. After several discussions,
the parties agreed that the Witnesses Would be deposed on June 25, 2004 at Plaintiff" s counsel’s
office in Memphis, Tennessee.

The J unc 25, 2004 depositions did not take place, as Defendant filed a Motion to Quash
the deposition notices of the three officers1 The undersigned denied the Motion to Quash on
September 8, 2004 and held that “Memphis is the more appropriate location for the [ofiicers’]
depositions.” Thomas & Betts Corp. v. Hosea Projeci‘ Movers LLC, Order Denying Def.’s Mot.
to Quash Notices of Dep., No. 02-2953 Ma/An (W.D. Tenn. Sept. 8, 2004). The undersigned
therefore ordered Defendant “to produce the three officers at Plaintiff`s counsel’s office for
depositions at a time to be agreed upon by counsel for the parties, but no later than October 5,
2004.” Ia’. Defendant filed objections to the undersigned’S September 8, 2004 Order, and Judge
l\/Iays affirmed the undersigned’s Order on October 19, 2004.

Following Judge Mays’ decision to affirm the September 8, 2004 Order, the parties again

attempted to schedule dates for the officers’ depositions On October 27, 2004, Defendant’s

 

1The Motion to Quash Was filed by Defendant on June 2], 2004 and can be located at docket entry 28.

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counsel informed Plaintiff’ s counsel that he would be checking with his client for possible dates
in December, and on November 30, 2004, Defendant’s counsel sent a similar notice to Plaintiffs
counsel suggesting possible dates in January. On December l, 2004, Defendant’s counsel stated
that “I have not been able to receive from my clients dates for [the officers] to be deposed in
Memphis. Accordingly, if you simply want to set those depositions by notice, they will be forced
to attend.” (Mot. for Default Judgment, at 4-5). Pursuant to this request, Plaintiff`s counsel set
the depositions for the officers to be held on lanuary 5-6, 2005 in Memphis.

On December 29, 2004, Plaintiff" s counsel took steps to confirm the appearance of the
deposition witnesses in Memphis, and at that time, a paralegal for Defendant’s counsel informed
Plaintist counsel that the witnesses would be unavailable for January 5-6, 2005 and would not
appear in Mernphis. A formal letter Was sent by Defendant’s counsel informing Plainti ff of the
unavailability of the witnesses on January 3, 2005. At this point, Plaintiff"s counsel informed
Defendant that if the witnesses failed to appear for the next-scheduled deposition date, Plainti ff
would file a motion requesting that the Court dismiss this lawsuit. The depositions were then
noticed for January 20, 2005.

On January l.S, 2005 , two days prior to the scheduled depositions, Defendant’s counsel
notified Plaintiff"s counsel that the Witnesses would be unable to attend the depositions. In a
follow-up letter, Defendant’s counsel stated that “[w]e found out today that the corporate
witnesses . . . have a conflict and Wi]l be unable to attend their depositions currently scheduled
for Thursday.” (Ia’. at 6). After learning of the witnesses' cancellation, Plaintiff filed the instant
motion. After Plaintiff filed this motion, Defendant’s counsel noticed the depositions for the

three witnesses to beheld in Memphis on February 23, 2005, and the depositions finally occurred

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in l\/Iemphis on this date. Besides asking substantive questions about this case, Plaintiff
questioned the officers at their depositions why the previously scheduled depositions did not take
place. The officers were unable to offer specific reasons why the depositions were canceled and
rescheduled, although the witnesses did mention business conflicts and health problems as
reasons for needing to change the deposition dates. At one point, Mr. Hosea became hostile
during his deposition, as he shouted profanity at opposing counsel and threatened opposing
counsel

Plaintiff requests the Court impose sanctions against Defendant because of Defendant’s
“repeated and unjustified failure to appear for their depositions and its failure to respond to
discovery requests . . . .” (Id. at 8). Plaintiff argues Defendant acted in bad faith by its officers’
refusal to appear for the depositions and that Plaintiff has been prejudiced by Defendant’s
conduct. Plaintiff also argues that Defendant violated the Court’s September 8, 2004 Order by
refusing to appear for depositions in Memphis.

In Response to the Motion, Defendant states that Plaintiff neglected to mention in its
Motion that the parties had scheduled the depositions for the officers on February 23, 2005.
Additionally, from January 19, 2005 to February 3, 2005, Defendant notes several instances
Where Plaintiff’ s counsel actually delayed the setting of the depositions in order to “go forward
with the motion for sanctions.” (Resp. to Mot. for Sanctions, at 3). Defendant next argues that it
did not violate the Court’s September 8, 2004 Order because they “have made efforts to schedule
available dates to” depose the officersl (Id.). Defendant finally argues that Plaintiff has engaged

in its own discovery misconduct

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ANALYSIS

The Court has both express power, under Federal Rule of Civil Procedure 37, and
inherent power to impose sanctions for bad faith conduct during discovery See Fed. R. Civ. P.
37; Chambers v. NASCO, 501 U.S. 32 (1991); Roadway Express, lnc. v. Pz`per, 447 U.S. 752
(1980). Rule 37 provides two frameworks for the imposition of sanctions First, under
subsections (a) and (b), a party may move for an order to compel discovery. If that motion is
granted and a party refuses or fails to comply with the Court’s Order, the Court may issue a wide
range of sanctions under Rule 37(b), including dismissal of the lawsuit Second, subsection (d)
provides for a less common scenario when sanctions may be imposed even though no prior court
order has been issued. The Court may enter an order for sanctions under Rule 37(d), for
example, if a party fails to attend a deposition or respond to discovery requests Rule 37(d) also
allows the Court to award attorneys’ fees and expensesl

The Court may also impose sanctions based on its inherent authority. A court’s inherent
power “is governed not by rule or statute but by the control necessarily vested in courts to
manage their own affairs so as to achieve the orderly and expeditious disposition of cases.” Lr'nk
v. Wabasfi R. Co., 370 U.S. 626, 630-31 (1962); see ast Roadway Express, fric. v. Pz`per, 447
U.S. 752, 765 (1980). This inherent power includes the Court’s “power to control and supervise
its own proceedings.” Smirh v. Northwest Fr'n. Accepfance, [nc., 129 F.3d 1408, 1419 (lOth Cir.
1997).

The decision to impose sanctions lies within the sound discretion of the trial court. See
Di`flon v. Nissan Moror Co., 986 F.2d 263, 268 (Sth Cir. 1993). Sanctions are “not merely to

penalize those whose conduct may be deemed to warrant such a sanction, but to deter those who

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might be tempted to such conduct in the absence of such a deterrent.” Hockey League v.
Metropolimn Hockey C[ub, ]nc., 427 U.S. 63 9, 643 (19'76). “[T]he applicable sanction should be
molded to serve the prophylactic, punitive, and remedial rationales underlying the spoliation
doctrine.” West v. Goodyear Ti`re & Rubber CO., 167 F.3d 776, 779 (2d Cir. 1999).

I. Motion for Default Judgment and Motion to Dismiss Counterclaim

Dismissal of an action is warranted if the wrongdoing party has committed “flagrant bad
faith.” Jackson v. Nfssan Motor Corp., 121 F.R.D. 31 l, 319 (M.D. Tenn. l988) (citing National
Hockey League v. Metropolitan Hockey Club, ]nc., 427 U.S. 639 (1976)). ln the Sixth Circuit,
“[d]ismissal is the sanction of last resort. lt should be imposed only if the court concludes that
the party’s failure to cooperate in discovery was willful, in bad faith, or due to its own fault.”
Bec'l v. Lakewood Engineertng & Mfg. Co., 15 F.3d 546, 552 (6th Cir. 1994). The word “willful”
is defined in Bfack’s Dictz`onary to mean “[v]oluntary and intentional, but not necessarily
malicious.” Black’s Dz`crionary 1593 (7th ed. 1999).

After due consideration, the Court concludes that default judgment and dismissal of
Defendant’s Counterclaim is not justified at this time. Unquestionab]y, Defendant did not
cooperate in the discovery process and did not act in good faith when attempting to schedule the
corporate officers’ depositions. Furthermore, after reviewing the deposition transcripts and
Plaintiff’ s Reply Brief, it appears Mr. Hosea believes he can decide, unilaterally, when it is
appropriate and when it is not appropriate for him to appear at a deposition Such behavior is not
condoned by the Court.

Nevertheless, the officers have submitted to depositions since the filing of this motion

As noted by Justice Douglas in his dissenting opinion in Lc'nk v. Wabash Rai`lroaa' Co., “the very

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purpose[] for which courts Were created . . . [is] to try cases on their merits and render judgments
in accordance with the substantial rights of the parties.” L.c`nk v. Wabash R. Co., 370 U.S. 626,
648 (1962) (Douglas, J., dissenting). As such, dismissing this case because of l\/lr. Hosea’s delay
tactic is not appropriate Some punishment may be appropriate against Defendant; however, the
“sanction of last resort” is not. Therefore, the Court recommends that the Motion for Default
Judgment and the Motion for Dismissa] of Defendant’s Counterclaim should be DENIED.

II. Motion for Attorney’s Fees

As mentioned above, the Court has the inherent power to impose sanctions as it deems
appropriate Federal Rule of Civil Procedure 37 provides that the payment of reasonable
expenses including attomey’s fees, is an appropriate sanction See Fed. R. Civ. P. 37. In
addition, “a court may assess attomeys’ fees when a party has acted in bad faith, vexatiously,
wantonly, or for oppressive reasons” Dilfon, 986 F.2d at 266. The United States Supreme Court
agrees With the Dillcm court. See, e.g., Chambers v. NASCO, fric., 50l U.S. 32 (l99l); Roadway
Express, ]nc. v. Piper, 447 U.S. 752, 763 (1980) (“Both parties and counsel may be held
personally liable for expenses ‘including attorney’s fees,’ caused by the failure to comply with
discovery orders.”).

Although default judgment and dismissal are not necessarily appropriate sanctions in this
case, the Court concludes that Defendant should be required to pay certain attorney’s fees and
costs associated with this discovery dispute. Plaintiff asks for “the costs associated with the
depositions, including but not limited to, the fees for opposing [Defendant’s] motion to quash

and the appeal of the September 8, 2004 Order, the fees for noticing and scheduling the

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depositions and communicating on the subj ect, and the fees for preparing this motion and brief.”
(Mot. for Default Judgment, at 14).

The Court concludes that Plaintiff is not entitled to reimbursement for the costs and
expenses associated with the initial Motion to Quash filed in June 2004 and with the appeal of
the undersigned’s Order in September 2004. The Court can only assume that Defendant acted on
a good faith belief that the deposition notices should have been quashed when it filed its Motion
to Quash; therefore, the Court finds it inappropriate to require Defendant to pay for this good
faith act. Additionally, all parties are entitled to appeal an Order, so Plainti ff should be
responsible for paying for its fees and expenses associated with the appeal

The Court, however, concludes that Plaintiff should be reimbursed for the costs and
expenses associated with the Motion for Default Judgment. Defendant’s decision to postpone
and re~schedule deposition after deposition is sufficient grounds for requiring Defendant to pay
any costs and expenses associated with this motion Defendant has not shown the Court any
reason why the depositions needed to be rescheduled, other than citing busy corporate executive
schedules Moreover, when the depositions did occur in February 2005, the officers were unable
to specifically state why the depositions needed to be rescheduled so many times at such short
notice. General answers and excuses are not sufficient for the Court. Finally, the actions of Mr.
Hosea during his deposition, discussed further in part ill of this Order, is sufficient grounds for
the imposition of sanctions against Defendant. As such, using its inherent power and relying on
Fed. R. Civ. P. 37, the Court recommends that Plaintiff’ s Motion for Attorney’s Fees be

GRANTED. Within 11 days of an Order adopting this report and recommendation, Plaintiff

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should submit an affidavit listing the fees and expenses incurred with respect to the Motion for
Default ludgrnent.
III. Mr. Hosea’s Conduct

Plaintiff provided a transcript and audio recording of Mr. Hosea’s deposition, which took
place on February 23, 2005, and the Court has reviewed these materials Mr. Hosea’s conduct
was totally inappropriate and the Court will not tolerate such flagrant and abusive conduct by
Mr. Hosea, or any other witness Profanity shall not be tolerated in these proceedings under any
circumstance See Dep. ofDavid Hosea, at 3l, 63, 93, 95, 1_10, 114, 115, 116 (showing
examples of Mr. Hosea’s use of profanity). Mr. Hosea is warned that any future behavior that
involves vulgar language, abusive conduct, or threats will be dealt with harshly.

CONCLUSION

For the reasons set forth above, the Court recommends that the Motion for Default
.ludgment and the Motion for Dismissal of Defendant’s Counterclairn be DENIED. The Court
also recommends that Plaintiff’ s Motion for Attomey’s Fees be GRANTED and that Plaintiff be
given 11 days to file an accounting with the Court of certain fees and expenses

ANY OBJECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
TEN (10) DAYS FROM 'l`I-IE DATE OF SERVICE OF THE REPORT. FAILURE TO FILE
THEM WITHIN TEN (10) DAYS OF SERVICE MAY CONSTITUTE A WAIVER OF

OBJECTIONS, EXCEPTIONS, AND FURTHER APPEAL.

gFmA-s @J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: QW /~5,: EOQJ/
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UNITED STATES DISTRIC COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 125 in
case 2:02-CV-02953 was distributed by fax, mail, or direct printing on
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